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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS

                                        §
  COSTAR GROUP, INC., and COSTAR        §
  REALTY INFORMATION, INC.,             §             CASE NO. _______
                                        §
             Petitioners,               §
                                        §             Underlying Action:
       v.                               §
                                        §     CASE NO. 2:20-CV-08819-CBM-AS
  RESTB.AI, LLC,                        §    In the United States District Court for
                                        §       the Central District of California
             Respondent.                §
                                        §
                          COSTAR’S BRIEF IN SUPPORT OF
             MOTION TO COMPEL PRODUCTION OF DOCUMENTS
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                                     I.      INTRODUCTION

        Commercial Real Estate Exchange, Inc. (“CREXi”), the defendant in CoStar Group, Inc.

 and CoStar Realty Information, Inc.’s (“CoStar’s”) copyright litigation pending in the Central

 District of California, contends that third party Restb.ai, LLC (“Restb”) provides CREXi with a

 service that (at least in part) negates CoStar’s allegations of willful infringement. CoStar therefore

 served Restb with a subpoena seeking documents uniquely within Restb’s custody and control.

 Restb does not dispute that the documents CoStar seeks are relevant. Nonetheless, despite months

 of negotiations and continuous efforts on CoStar’s part to alleviate the burdens with responding to

 the subpoena, Restb still refuses to respond in full to CoStar’s subpoena, necessitating the present

 motion.

        CoStar and CREXi each operate online commercial real estate marketplaces. In September

 2020, after discovering that CREXi had copied thousands of CoStar’s copyrighted images—at

 least 11,324 to date—CoStar filed suit in the Central District of California. See CoStar Grp., Inc.

 v. Comm. Real Est. Exch. Inc., No. 20-cv-08819-CMS-AS (C.D. Cal.) (the “Litigation”); [Ex. 1,

 App. 56, ¶ 147; see also id. at 4, 6, 51, 73, ¶¶ 5, 9, 129, 196]; [Exs. 4–9, App. 193–216]. That

 infringement continued even after CoStar filed suit. See [Ex. 1, App. 4, 51, ¶¶ 5, 129]. Some of

 CoStar’s copyrighted photographs were published on CREXi’s website displaying CoStar’s “star”

 logo, and some were published with that logo cropped out. CoStar cannot—absent discovery—

 know the full extent of CREXi’s infringing activity, not least because CREXi no longer publicly

 displays infringing photographs associated with properties that are no longer on the market.

        CREXi has identified Restb and its documents as directly relevant to CoStar’s claims in

 the Litigation.   Specifically, in response to an interrogatory asking CREXi to identify all

 “procedures, or protocols” CREXi has “put in place to avoid copyright infringement,” CREXi



                                                   1
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 pointed to Restb, an artificial intelligence technology company specializing in real estate image

 recognition. CREXi claims to have



                                                              CREXi further represents that




                                                                                             .1

        On February 1, 2022, CoStar served Restb with a subpoena, requesting, among other

 things, documents and communications regarding the operation of its technology, the work that it

 has done for CREXi, and whether and to what extent that work identified CoStar’s copyrighted

 images on CREXi’s website. See [Ex. 3, App. 181 (the “Subpoena”)]. Thereafter, CoStar and

 Restb engaged in a meet-and-confer process that resulted in Restb’s production of forty-seven

 documents, comprising

                                                                               The parties reached

 an impasse, however, regarding Restb’s responses to Request Nos. 1, 2, and 5, which seek (among

 other documents)2 internal Restb documents (i.e., documents not in CREXi’s possession)




 1
   Despite identifying this process in response to an interrogatory seeking to discover CREXi’s
 efforts to avoid copyright infringement, CREXi also claimed


                                                           Restb’s website, however, states that one
 purpose of its watermark detection solution is to “Protect your company from copyright lawsuits.”
 Watermark Detection, Restb.ai, https://restb.ai/solutions/watermark-detection/ (last visited Aug.
 25, 2022).
 2
   As set forth below, this Motion only seeks to compel a subset of the documents sought in Request
 Nos. 1, 2, and 5 that are uniquely in Restb’s—and not CREXi’s—possession. CoStar is, in parallel,
 seeking certain responsive documents from CREXi.

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 regarding (1) Restb’s relationship with CREXi; (2) CoStar (including its photographs, website,

 and logo); and (3) Restb’s technology (including how it works and its effectiveness).

        CoStar is entitled to discovery concerning additional instances of CREXi’s unlawful

 copying of CoStar’s photographs (including instances identified by Restb), which bear directly on

 the extent and nature of CREXi’s infringement, including its wilfulness, as well as the calculation

 of CoStar’s damages and the scope of the injunction CoStar seeks in the Litigation. See 17 U.S.C.

 § 106(1), (3), (5). Restb possesses, but refuses to produce, unique documents and communications

 regarding its technology; the purpose, scope and results of its work for CREXi; the recognition of

 CoStar’s star logo as identifying CoStar’s copyright ownership; and CREXi’s continuing display

 of CoStar photographs before and after this Litigation was filed.

        Restb has not challenged the relevance of these documents. Rather, Restb has balked at

 producing any such documents before CREXi produces (different) documents, and has alluded to

 vague concerns about burden to the extent Restb would be required to search for and produce

 electronically stored information (“ESI”) to respond to these Requests. Restb has also failed to

 follow through on its agreement to produce certain responsive noncustodial documents regarding

 how its technology filters images, how Restb communicates the results of its work to CREXi, and

 the effectiveness of identifying CoStar’s watermark with Restb’s technology that are responsive

 to Request Nos. 2 and 5; indeed, Restb produced only three such documents despite claiming for

 three months that it planned to review and produce potentially hundreds of noncustodial documents

 responsive to these requests.

        To alleviate any of Restb’s concerns regarding the potential burden of an ESI review,

 CoStar suggested narrowly tailored search terms to locate ESI, and also offered to pay the

 reasonable costs of Restb’s ESI review.        Restb initially rejected both proposals without




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 explanation. Then, on the eve of CoStar filing the instant Motion, Restb offered a counter-proposal

 whereby Restb would conduct an ESI review of two custodians—though Restb did not identify

 what search terms it would run to identify responsive ESI—in exchange for CoStar agreeing not

 to seek any further documents from Restb (regardless of the deficiencies in Restb’s—or

 CREXi’s—ultimate production), and so long as CoStar paid for the costs associated with that

 review. CoStar could not agree not to seek further documents from Restb before receiving Restb’s

 production, but remained willing to negotiate the remainder of Restb’s proposal. CoStar asked

 Restb to identify the search terms it planned to use for its ESI search, provide an estimation of

 costs for that review, and address the deficiencies in its noncustodial production. Restb declined

 to supplement its deficient noncustodial production and then withdrew in its entirety its limited

 offer to search ESI, claiming that “[u]pon further review, such searching is either unnecessary or

 unduly burdensome (or both),” but offering no factual basis for that new assertion. [Ex. 15, App.

 314–15]. CoStar was thus forced to file this Motion.

        CoStar respectfully requests an order compelling Restb to respond to Request Nos. 1, 2,

 and 5 of CoStar’s Subpoena, as narrowed (see infra below).

                          II.    SUBPOENA REQUESTS AT ISSUE3

 CoStar’s Request No. 1

        All Documents and Communications, from the date You first communicated with or about

 CREXi to the present, and whether internal, between You and CREXi, or otherwise, regarding

 Your relationship with CREXi, including all agreements and contracts between You and CREXi,

 all drafts thereof, any side agreements and amendments relating thereto, all Documents relating




 3
   The Subpoena sets forth nine document requests. Request Nos. 1, 2, and 5 of the Subpoena are
 the focus of this Motion.

                                                 4
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 to the termination (if any) of Your relationship with CREXi, and all Documents regarding all

 payments between You and CREXi.

 Restb.ai’s Objection and Response to Request No. 1:

        Respondent objects to this document request as unduly burdensome and oppressive to the

 extent it calls for the production of documents that the CoStar should already possess or could

 obtain from parties to the litigation. Respondent objects to this request to the extent it seeks

 documents protected by the attorney-client, work-product, or other applicable privilege(s) or

 exemption(s) from production. Respondent objects to this request as overbroad, unduly

 burdensome, vague, and ambiguous to the extent it requests “All Documents and

 Communications.” Such a request is untailored and unduly burdensome for a third party.

        Subject to the general and specific objections, Respondent is willing to meet and confer

 concerning an appropriate scope for this request.

 CoStar’s Request No. 2:

        All Documents and Communications, whether internal, between You and CREXi, or

 otherwise, regarding CoStar, any CoStar-Derived Photograph, any CoStar-Derived Data, the

 CoStar Watermark, any CoStar Website or any CoStar Database, including the identification or

 potential identification of any CoStar- Derived Photograph, CoStar-Derived Data, or CoStar

 Watermark, any artificial intelligence or other means used to scan or review www.crexi.com for

 CoStar- Derived Photographs, CoStar-Derived Data, or the CoStar Watermark, any steps taken

 or to be taken once such identification has occurred (including removal from www.crexi.com), the

 location of any such photographs or data, the deletion of any such photographs or data, the

 applicability or non-applicability of copyright law or other legal protection to any such

 photographs or data, and/or the content of any CoStar Website or CoStar Database.




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 Restb.ai’s Objection and Response to Request No. 2:

        Respondent objects to this document request as unduly burdensome and oppressive to the

 extent it calls for the production of documents that the CoStar should already possess or could

 obtain from parties to the litigation. Respondent objects to this request to the extent it seeks

 documents protected by the attorney- client, work-product, or other applicable privilege(s) or

 exemption(s) from production. Respondent objects to this request as overbroad, unduly

 burdensome, vague, and ambiguous to the extent it requests “All Documents and

 Communications.” Such a request is untailored and unduly burdensome for a third party.

        Subject to the general and specific objections, Respondent is willing to meet and confer

 concerning an appropriate scope for this request.

 CoStar’s Request No. 5

        All Documents and Communications, whether internal, between You and CREXi, or

 otherwise, concerning the use of the CoStar Watermark to identify photographs that are or may

 be owned by CoStar. For the avoidance of doubt, this Request encompasses any and all

 procedures, policies or practices relating to Your work for CREXi, including the use of artificial

 intelligence or other means to scan or review www.crexi.com.

 Restb.ai’s Objection and Response to Request No. 5:

        Respondent objects to this document request as unduly burdensome and oppressive to the

 extent it calls for the production of documents that the CoStar should already possess or could

 obtain from parties to the litigation. Respondent objects to this request to the extent it seeks

 documents protected by the attorney-client, work-product, or other applicable privilege(s) or

 exemption(s) from production.      Respondent objects to this request as overbroad, unduly

 burdensome, vague, and ambiguous to the extent it requests “All Documents and

 Communications.” Such a request is untailored and unduly burdensome for a third party.


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         Subject to the general and specific objections, Respondent is willing to meet and confer

  concerning an appropriate scope for this request.

                                      III.    BACKGROUND

         CREXi’s discovery responses in the Litigation indicate that it has already identified—via

  Restb—a subset of photographs published on CREXi’s website that bear CoStar’s watermark. In

  response to an interrogatory asking CREXi to identify protocols it “put in place to avoid copyright

  infringement,” CREXi stated



                            According to CREXi,

                                                                         CREXi then claims




         On February 1, 2022, CoStar served Restb with a third-party subpoena under Rule 45 that

  set forth nine document requests narrowly tailored to seek documents and communications related

  to the services Restb provided to CREXi. See [Ex. 3, App. 189–91]. In addition to Request Nos.

  1, 2, and 5 (see supra at 4–6), the Subpoena requests the production of: photographs identified by

  Restb as bearing CoStar’s watermark (No. 3); documents and communications regarding

  photographs Restb previously identified as bearing CoStar’s watermark (the “star” logo) but no

  longer possesses (No. 4), information regarding Restb’s access to CoStar’s websites or databases

  (No. 6), information regarding agents or contractors used by CREXi to research, collect, or verify

  commercial real estate information (No. 7), Restb’s involvement in any intellectual property

  litigation (No. 8), and Restb’s document preservation obligation (No. 9). [Ex. 3, App. 189–91].




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         In parallel, CoStar sought Restb-related documents from CREXi, including

  communications between CREXi and Restb and all images in CREXi’s possession that were

  identified by Restb as containing CoStar’s watermark. See [Ex. 10, App. 235]; [Ex. 11, App. 241–

  47]. While CREXi agreed to produce certain documents and communications with Restb (using a

  limited set of search terms and custodians), it has yet to do so. CREXi resisted production of

  Restb-identified images, forcing CoStar to move to compel their production. See [Ex. 12, App.

  252]. The Central District of California ultimately ordered CREXi to produce all CoStar images

  in its possession identified by Restb. See [Ex. 13, App. 296]. To date, CREXi appears

                                                                              .4

         Meanwhile, after CoStar agreed to provide Restb an extension to its response date, Restb

  responded to the Subpoena on March 24, 2022. See [Ex. 14, App. 299]. Restb made general and

  specific objections to CoStar’s requests but otherwise stated that it was “willing to meet and confer

  concerning an appropriate scope” for each Request. See [id. at 303, 305–10]. A meet-and-confer

  effort ensued over the following six-and-a-half months, including four teleconferences and

  numerous email exchanges.

         During the meet-and-confer process, Restb represented that it has no documents responsive

  to Request Nos. 4, 6, 7, 8, and 9, and agreed to produce certain noncustodial documents responsive

  to Request No. 1 (contracts and invoices). [Ex. 15, App. 323]. In response to Request No. 1, Restb

  produced forty-four documents, consisting of

                                                             Several of the

                                                                                            Restb also




  4
    These images would be responsive to the Subpoena, but CoStar does not seek them from Restb
  at this time, see infra at 9 n.5.

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  produced



        Critically, however, none of these



         Restb also agreed to conduct a targeted review of noncustodial documents for purposes of

  producing documents sufficient to show how its technology filters images (Request No. 2(d)), how

  Restb communicates the results of its work to CREXi (Request No. 2(e)), and the effectiveness of

  identifying CoStar’s watermark with Restb’s technology (Request No. 5). See [Ex. 15, App. 320];

  [Ex. 15, App. 323]. Three months after it agreed to conduct this targeted review and production,

  however, Restb produced only three documents: one partially redacted

                     (CREXi did not produce a privilege log or otherwise provide a basis for its

  redactions), one                                                  , and one



                                                          None of these generic documents, however,

  provide sufficient context to understand how Restb’s technology filters images, and none make

  any mention of CREXi or CoStar.

         For its part, CoStar agreed not to seek documents in response to Request No. 3 (all

  photographs identified by Restb as bearing CoStar’s watermark), conditioned on CREXi’s

  production of those images in accordance with the Central District of California’s Order. 5 See

  [Ex. 13, App. 296]; [Ex. 15, App. 324–25]. CoStar further agreed, at this time, to seek only internal


  5
    CoStar reserves all rights to seek these images from Restb in the event that CREXi’s production
  is deficient. See Soto v. Castlerock Farming & Transp., Inc., 282 F.R.D. 492, 505 (E.D. Cal. 2012)
  (finding that while,“[i]n general, there is a preference for parties to obtain discovery from one
  another before burdening non-parties with discovery requests,” subpoenaing party established its
  need to obtain documents from third party when it first sought documents from opposing party,
  who largely refused to produce responsive documents).

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  Restb documents and communications (i.e., excluding communications with CREXi that should

  be in CREXi’s possession). See [Ex. 15, App. 324].6

         Meet-and-confer discussions broke down, however, over Restb’s review of custodial ESI

  to respond to Request Nos. 1 and 2. Restb initially stated that it would be willing to consider

  responding to more narrowed versions of the Requests. See id. CoStar then spent months

  conferring with Restb on ways to minimize the burden, and provided Restb with documents

  exemplifying the type of responsive documents that CoStar is seeking in order to help Restb

  identify parameters for Restb’s search and collection of responsive documents. See id. Over a

  month later, during a June 14 meet-and-confer call, Restb stated that it would be willing to consider

  search terms for Request Nos. 1 and 2, and further asked CoStar to pay for reasonable costs

  associated with this review. See [Ex. 15, App. 322–24].

         In order to significantly reduce any potential burden on Restb, CoStar agreed to Restb’s

  requests—providing on June 21, 2022, a list of six proposed search terms, and agreeing to bear

  reasonable costs associated with Restb’s ESI review. After seventeen weeks of negotiation,

  however, Restb reversed course, claiming that it “would be unduly burdensome for a third party”

  to conduct an ESI review and production in response to Request Nos. 1 and 2. See [Ex. 15, App.

  322]. (Restb asserted that CoStar’s search terms were facially overbroad, but did not produce a

  search term “hit report” for CoStar’s six proposed search terms, so CoStar has no meaningful way

  to evaluate this assertion. Moreover, Restb did not make a counter-proposal.) The parties

  confirmed that they were at an impasse during a July 22, 2022 meet-and-confer call, and CoStar

  stated its intent to seek judicial relief. See [Ex. 15, App. 320].




  6
   CoStar likewise reserves all rights to seek these communications with Restb in the event that
  CREXi’s production is deficient. See supra n.5.

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         Prepared to file the instant Motion in short order, CoStar emailed Restb on August 31,

  asking whether it would consent to a motion to transfer the motion to compel from the Northern

  District of Texas (the district where compliance with the Subpoena is required) to the Central

  District of California, where the underlying litigation is pending. [Ex. 15, App. 319]. Despite

  repeated requests, Restb did not meaningfully respond to that request until over three weeks later,

  when it reversed course again. On September 22, Restb offered to conduct a limited ESI search

  for documents responsive to Request Nos. 1 and 2 in the email files of its Chief Product Officer

  and Chief Operations Officer conditioned on: “(1) CoStar seeking no further documents from

  Restb, and (2) CoStar paying the costs of the review.” [Ex. 15, App. 316–17]. Restb asserted,

  however, that it would not make any further productions of noncustodial documents responsive to

  Request Nos. 1, 2, and 5. See id. While CoStar re-confirmed its willingness to bear the reasonable

  costs of an ESI review, CoStar also stated that it needed to know the search terms that Restb

  planned to use to locate potentially responsive ESI, and to reserve its right to seek additional

  documents from Restb. CoStar also asked whether Restb was willing to reconsider remedying the

  deficiencies in its production of three noncustodial documents in response to Request Nos. 2 and 5.

  [Ex. 15, App. 316]. Restb responded by yet again reversing course, withdrawing in its entirety its

  limited offer to search ESI. [Ex. 15, App. 315]. This Motion followed.

                                        IV.    ARGUMENT

         The only dispute here is whether the admittedly relevant documents and information

  CoStar seeks under Rule 45 are unduly burdensome for Restb to gather and produce, negating

  Restb’s obligation to respond to the subpoena. A court determining the propriety of a Rule 45

  subpoena “must balance the need for discovery by the requesting party and the relevance of the

  discovery to the case against the harm, prejudice or burden to the other party.” Orchestrate HR,




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  Inc. v. Trombetta, 2014 WL 772859, at *2 (N.D. Tex. Feb. 27, 2014). “To determine whether the

  subpoena presents an undue burden, [a court] consider[s] the following factors: (1) relevance of

  the information requested; (2) the need of the party for the documents; (3) the breadth of the

  document request; (4) the time period covered by the request; (5) the particularity with which the

  party describes the requested documents; and (6) the burden imposed.” Wiwa v. Royal Dutch

  Petroleum Co., 392 F.3d 812, 818 (5th Cir. 2004). As detailed below, the relevance of the material

  CoStar seeks outweighs any burden on Restb.

         A.      The Documents Sought Are Relevant to CoStar’s Copyright Infringement
                 Claims and CREXi’s Defenses

         There is no dispute that the documents and communications CoStar seeks from Restb are

  relevant to both CoStar’s copyright infringement claims and CREXi’s defenses. In Request No.

  1, CoStar seeks communications “regarding [Restb’s] relationship with CREXi,” [Ex. 3, App.

  189], which encompasses ESI related to the purpose of Restb’s services to CREXi as Restb

  understood it (e.g., to identify third-party copyrighted images on CREXi’s website). Request No.

  1 further encompasses internal Restb communications regarding the nature and scope of services

  it performed for CREXi (e.g., searching for and identifying only copyrighted images that CREXi

  publishes on its website, or also those that it stores offline), and any discussions regarding the

  results of Restb’s scan of CREXi’s website and need to increase or expand the scope of its services

  to capture additional infringing activity. See [Ex. 15, App. 323]. Similarly, Request Nos. 2 and 5

  target Restb communications regarding CoStar specifically, including ESI sufficient to show how

  Restb’s technology identifies CoStar’s watermark or photographs, the effectiveness of that

  technology, where Restb stores those photographs, and how it removes those photographs from

  CREXi’s website. Id.




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         Among other purposes, this discovery bears upon to what extent, CREXi “was actually

  aware of [its] infringing activity” or displayed a “reckless disregard for, or willful blindness to”

  CoStar’s copyrights, an element of willful copyright infringement. Unicolors, Inc. v. Urb.

  Outfitters, Inc., 853 F.3d 980, 991 (9th Cir. 2017); see also 17 U.S.C. 504(c)(2) (providing for

  statutory damages up to $150,000 per instance of willful infringement). Indeed, CREXi has taken

  the position that “the fact that CREXi engaged Restb is relevant to CREXi’s good faith and lack

  of willfulness.” [Ex. 12, App. 283–84; see also id. at 283 (“CREXi employs Restb in a good faith

  effort to prevent infringement and to preserve the integrity of CREXi’s brand by avoiding

  displaying third-party logos on its website.”)];                                      .

         Notably, the forty-seven documents Restb has produced to date only reinforce the

  relevance of the additional internal Restb documents sought in this Motion. Restb’s

            indicate




                        But without additional communications discussing the scope and nature of

  this work, CoStar has no way of determining



             The                   Restb produced




                                                                                                  The




                                                     13
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                     this only reinforces CoStar’s conclusion that Restb played a key role in

  identifying images bearing CoStar’s watermark, and underscores the relevance of the additional

  documents sought to fully understanding that role.

         B.      The Remaining Wiwa Factors Favor Granting the Instant Motion

         The remaining Wiwa factors all weigh in favor of granting the Motion—the documents and

  information CoStar seeks are necessary and proportionate to the needs of the case, limited in time

  and particularly defined, and the burden on Restb is minimal. See Wiwa, 392 F.3d at 818. As

  explained above, the limited discovery from Restb to date (as well as recent productions from

  CREXi) reflect that Restb has undertaken critical work for CREXi that cannot be properly

  understood or placed in context without the production of the additional internal Restb

  communications and documents sought here, which are particularly circumscribed, and cannot be

  obtained from another source, including CREXi. Specifically, at this time, CoStar seeks only two

  narrow categories of information from Restb: (1) ESI from a three-year period (February 2019 to

  the present) that is not in the possession of either CoStar or CREXi, the parties to the Litigation;

  and (2) a targeted production of noncustodial documents from the same three-year period that are

  sufficient to show how Restb’s technology filters images for CREXi, how Restb communicates

  the results of its work to CREXi, and the effectiveness of identifying CoStar’s watermark with

  Restb’s technology. Restb’s production of the internal communications and documents responsive

  to these narrow categories would allow CoStar to better understand Restb’s relevant role and

  recognition of CoStar’s star logo as identifying CoStar’s copyright ownership, as well as the nature

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  of CREXi’s infringement, including its copying and display of CoStar-owned photographs before

  and after this Litigation was filed.

         Restb has never articulated a specific burden associated with providing this discovery, and

  any burden on Restb associated with collecting and producing the requested ESI would be

  minimal. The fact that CoStar has offered (and remains willing) to pay the reasonable costs of

  Restb’s targeted ESI searches is fatal to Restb’s claims that any burden here is “undue.” See [Ex.

  15, App. 321]; cf. Century Int’l Arms Inc. v. XTech Tactical LLC, No. CV-18-03404-PHX-GMS,

  2020 WL 224361, at *2 (D. Ariz. Jan. 15, 2020) (denying motion to quash third-party subpoena in

  part because subpoenaing party offered to incur costs “in an effort to diminish any expense or

  effort to be expended by [third party] in responding to the subpoena”). Furthermore, CoStar

  remains willing to negotiate custodians and search terms with Restb if necessary to further

  minimize the burden to Restb. Indeed, prior to this Motion, CoStar proposed just six targeted

  search terms to try to limit the number of documents Restb would need to review for

  responsiveness:

             1. Costar*

             2. [in the alternative to #1] Costar* and (watermark* or logo* or photo* or image*

                 or own*)

             3. CREXi

             4. [in the alternative to #3] CREXi and (costar* or logo* or photo* or image* or

                 identif* or find* or found or flag* or hit* or scan* or locate* or infring*]

             5. @crexi.com

             6. Restb* w/10 (technolog* or filter* or intelligen* or copyright*).

  See [Ex. 15, App. 323–24].




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         Restb initially suggested that those terms are “not [geared toward] narrowly targeting any

  relevant documents,” [Ex. 15, App. 322]; but has never explained why, and common sense dictates

  otherwise. For example, CoStar proposed “CoStar” and “CREXi” as terms because, to CoStar’s

  knowledge, Restb’s only engagement with CREXi involves screening for CoStar’s copyrighted

  images and watermark, and thus ESI referring to CREXi or CoStar would be, presumably,

  responsive to Request Nos. 1 and/or 2.         In the event “CoStar” or “CREXi” hit upon an

  unreasonable number of communications, CoStar suggested alternative variations on these terms.

  But Restb never provided CoStar with a search term hit report, so CoStar has no meaningful way

  to even assess what the true burden to Restb might be from running these terms. (To be sure, if a

  search term hit report reveals that CoStar’s proposed terms capture an unduly disproportionate

  number of documents, CoStar remains willing to negotiate search terms.)

         Then, three months after CoStar proposed those search terms and after it informed Restb

  that it would seek Court intervention, Restb appeared willing to conduct an ESI review—thus

  critically undermining any claim of undue burden—but only for two custodians, using unknown

  search terms, and in exchange for CoStar agreeing to “seek[] no further documents from Restb.”

  See [Ex. 15, App. 316–17]. For obvious reasons, this lack of transparency (combined with the

  condition that CoStar forego any ability to seek additional documents regardless of the results of

  this ESI review) was unacceptable to CoStar. But when CoStar asked Restb to provide more

  details regarding its proposal, rather than identify the search terms it planned to use as part of its

  ESI review, Restb withdrew its offer altogether and said that it had decided upon “further review”

  that its response to CoStar’s Subpoena was sufficient. [Ex. 15, App. 315]. Restb’s shifting,

  unsubstantiated positions on “burden” should be given no weight.




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                                      V.     CONCLUSION

         For the reasons stated herein, CoStar thus respectfully requests an order compelling Restb

  to promptly produce, for the time period February 1, 2019, to the present: (1) all internal ESI

  (documents and communications) hitting on the search terms proposed by CoStar in its June 21,

  2022 email that are responsive to Request Nos. 1, 2, and 5; and (2) noncustodial documents that

  are responsive to Request Nos. 2 and 5.

                                                 Respectfully submitted,

                                                 /s/ Andrew Strelka
                                                 Andrew Strelka
                                                 D.C. Bar No. 1022560
                                                 LATHAM & WATKINS, LLP
                                                 555 Eleventh Street, NW
                                                 Suite 1000
                                                 Washington, D.C. 20004
                                                 Tel: 202.637.2200
                                                 Fax: 202.637.2201
                                                 andrew.strelka@lw.com

                                                 Nicholas J. Boyle (pro hac vice forthcoming)
                                                 D.C. Bar No. 481098
                                                 Sarah A. Tomkowiak (pro hac vice forthcoming)
                                                 D.C. Bar No. 987680
                                                 Latham & Watkins, LLP
                                                 555 Eleventh Street, NW
                                                 Suite 1000
                                                 Washington, D.C. 20004
                                                 Tel: 202.637.2200
                                                 Fax: 202.637.2201
                                                 nicholas.boyle@lw.com
                                                 sarah.tomkowiak@lw.com


                                                 Counsel for Petitioners
                                                 Costar Group, Inc., and Costar Realty
                                                 Information, Inc.




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on October 12, 2022, a true and correct copy of the foregoing

  document has been filed via the Court’s electronic filing system, and that all counsel have been

  served in accordance with Rule 5 of the Federal Rules of Civil Procedure.


                                                 /s/ Andrew Strelka
                                                 Andrew Strelka




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